                     STATEMENT OF THE CASE.
This action was commenced by the defendant in error, Herbert E.Ellis, plaintiff in the court below, against Geo. P. Endicott and Sam Lee. Said action was by petition, asking for a mandatory injunction. Summons was issued and served on the defendant. To which petition, defendant demurred. Thereafter, on the 26th day of July, 1898, the plaintiff filed an amended petition in said cause, without leave of the court. Thereafter, on the 6th day of September, said amended petition was refiled by leave of court. Thereafter the plaintiff filed his *Page 665 
amended and supplemental petition in said cause. To which amended and supplemental petition defendant demurred.
Said demurrer was by the court overruled, to which the defendant excepted. Defendant then filed his answer to said amended and supplemental petition. Plaintiff then filed his reply to defendant's answer. Afterwards, on the 5th day of October, 1898, said cause came on for trial before the court, whereupon proceedings were had, and evidence given. Upon said trial, hearing, and consideration of said cause, the court rendered judgment in favor of the plaintiff and against the defendant, to which the defendant excepted. Thereafter, and within the time allowed by law, the defendant filed a motion for a new trial in said cause, which was by the court overruled, to which the defendant excepted. From which judgment and rulings of the court the defendant appeals and brings the cause here for review.
Opinion of the court by
The facts in this case contained, and the principles of law herein involved, being practically the same as those involved in the case of E. F. Black v. Walter P. Jackson, decided in this court, February 12, 1898, and reported in volume 6, page 751, Oklahoma Reports, and the views therein expressed, and the law therein laid down, meeting with our approval, the rule there established will be followed in this case, and the judgment of the district court affirmed.
Hainer, J., having presided in the court below, and McAtee, J., not sitting; all of the other Justices concurring. *Page 666 